                                                                   APPEAL,CLOSED,TRANSFERIN
                          United States District Court
                   Eastern District of Wisconsin (Green Bay)
               CIVIL DOCKET FOR CASE #: 1:19−cv−01561−WCG

Halperin v. Richards, et al                                 Date Filed: 10/24/2019
Assigned to: Judge William C Griesbach                      Date Terminated: 08/28/2020
related Case: 1:18−cv−01861−WCG                             Jury Demand: None
Case in other court: USBC−District of Delaware, 18−50955    Nature of Suit: 790 Labor: Other
                                                            Jurisdiction: Diversity
Cause: 29:1109 Breach of Fiduciary Duties

Plaintiff
Alan D Halperin                              represented by Gordon Z Novod
Co−Trustee of the Appvion Liquidating                       Grant & Eisenhofer PA
Trust                                                       485 Lexington Ave − 29th Flr
                                                            New York, NY 10017
                                                            646−722−8500
                                                            Fax: 646−722−8501
                                                            Email: gnovod@gelaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           Vivek Upadhya
                                                           Grant & Eisenhofer PA
                                                           123 Justison St
                                                           Wilmington, DE 19801
                                                           302−622−7000
                                                           Fax: 302−622−7100
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Eugene I Davis                               represented by Gordon Z Novod
Co−Trustee of the Appvion Liquidating                       (See above for address)
Trust                                                       LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           Vivek Upadhya
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED


V.
Defendant
Mark R Richards                              represented by Craig C Martin
                                                            Willkie Farr & Gallagher LLP

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                                               300 N LaSalle Dr − 50th Fl
                                               Ste 50th Floor
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                                               312−728−9050
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                                               LEAD ATTORNEY
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                                               Michael T Graham
                                               Willkie Farr & Gallagher LLP
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                                               Chicago, IL 60654
                                               312−728−9015
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                                               Email: mgraham@willkie.com
                                               LEAD ATTORNEY
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                                               Amanda S Amert
                                               Willkie Farr & Gallagher LLP
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                                               Chicago, IL 60654
                                               312−728−9010
                                               Fax: 312−728−9199
                                               Email: aamert@willkie.com
                                               ATTORNEY TO BE NOTICED

Defendant
Thomas J Ferree                    represented by Craig C Martin
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                               Michael T Graham
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                               Amanda S Amert
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

Defendant
Tami L Van Straten                 represented by Craig C Martin
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                               Michael T Graham
                                               (See above for address)

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                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Amanda S Amert
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Jeffrey J Fletcher                  represented by Craig C Martin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Michael T Graham
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Amanda S Amert
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Kerry S Arent                       represented by Craig C Martin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Michael T Graham
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Amanda S Amert
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Stephen P Carter                    represented by Craig C Martin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Michael T Graham
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Amanda S Amert
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED
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Defendant
Terry M Murphy                      represented by Craig C Martin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Michael T Graham
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Amanda S Amert
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Andrew F Reardon                    represented by Craig C Martin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Michael T Graham
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Amanda S Amert
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Kathi P Seifert                     represented by Craig C Martin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Michael T Graham
                                                (See above for address)
                                                LEAD ATTORNEY
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                                                Amanda S Amert
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Defendant
Mark A Suwyn                        represented by Craig C Martin
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                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
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                                                 Michael T Graham
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Amanda S Amert
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                                                 ATTORNEY TO BE NOTICED

Defendant
Carl J Laurino                      represented by Craig C Martin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                 Michael T Graham
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Amanda S Amert
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
David A Roberts                     represented by Craig C Martin
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                 Michael T Graham
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                                                 LEAD ATTORNEY
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                                                 Amanda S Amert
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                                                 ATTORNEY TO BE NOTICED

Defendant
Argent Trust Company                represented by Brian P Muething
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      Case 1:19-cv-01561-WCG Filed 09/17/20 Page 5 of 23 Document 44
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                                                 LEAD ATTORNEY
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Defendant
Stout Risius Ross Inc               represented by Kara Petteway Wheatley
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                                                 Meredith Kimelblatt
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      Case 1:19-cv-01561-WCG Filed 09/17/20 Page 6 of 23 Document 44
                                                1701 Pennsylvania Ave NW
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                                                Law Firm of Conway Olejniczak & Jerry
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                                                Email: asalek−raham@groom.com
                                                ATTORNEY TO BE NOTICED

Defendant
Stout Risius Ross LLC               represented by Kara Petteway Wheatley
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Lars C Golumbic
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Meredith Kimelblatt
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Ross Townsend
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Andrew Salek−Raham
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED
      Case 1:19-cv-01561-WCG Filed 09/17/20 Page 7 of 23 Document 44
Defendant
Jane and John Does
1−40


 Date Filed   #      Page Docket Text
 10/24/2019    1          Case transferred in from US Bankruptcy Court, District of Delaware: Case
                          Number 18−50955. Transfer orders and docket sheet received. Chief Judge
                          William C Griesbach and Magistrate Judge Nancy Joseph assigned.
                          (Attachments: # 1 Opinion, # 2 Order)(tlf)
 10/24/2019    2          REVISED SECOND AMENDED COMPLAINT against all Defendants by
                          Eugene I Davis, Alan D Halperin. (Counts I−VIII transferred from
                          USBC−District of Delaware on 10/24/2019). (Revised Second Amended
                          Complaint originally filed in USBC−District of Delaware Case 18−50955 on
                          7/2/2019.)(tlf)
 11/11/2019    3          NOTICE of Appearance by Lars C Golumbic on behalf of Stout Risius Ross
                          Inc, Stout Risius Ross LLC. Attorney(s) appearing: Lars C. Golumbic
                          (Golumbic, Lars)
 11/11/2019    4          NOTICE of Appearance by Kara Petteway Wheatley on behalf of Stout Risius
                          Ross Inc, Stout Risius Ross LLC. Attorney(s) appearing: Kara P. Wheatley
                          (Wheatley, Kara)
 11/11/2019    5          NOTICE of Appearance by Meredith Kimelblatt on behalf of Stout Risius Ross
                          Inc, Stout Risius Ross LLC. Attorney(s) appearing: Meredith F. Kimelblatt
                          (Kimelblatt, Meredith)
 11/13/2019    6          NOTICE of Appearance by Craig C Martin on behalf of Kerry S Arent, Stephen
                          P Carter, Thomas J Ferree, Jeffrey J Fletcher, Carl J Laurino, Terry M Murphy,
                          Andrew F Reardon, Mark R Richards, David A Roberts, Kathi P Seifert, Mark
                          A Suwyn, Tami L Van Straten. Attorney(s) appearing: Craig C. Martin (Martin,
                          Craig)
 11/13/2019    7          NOTICE of Appearance by David Jimenez−Ekman on behalf of Kerry S Arent,
                          Stephen P Carter, Thomas J Ferree, Jeffrey J Fletcher, Carl J Laurino, Terry M
                          Murphy, Andrew F Reardon, Mark R Richards, David A Roberts, Kathi P
                          Seifert, Mark A Suwyn, Tami L Van Straten. Attorney(s) appearing: David
                          Jimenez−Ekman (Jimenez−Ekman, David)
 11/13/2019    8          NOTICE of Appearance by Michael T Graham on behalf of Kerry S Arent,
                          Stephen P Carter, Thomas J Ferree, Jeffrey J Fletcher, Carl J Laurino, Terry M
                          Murphy, Andrew F Reardon, Mark R Richards, David A Roberts, Kathi P
                          Seifert, Mark A Suwyn, Tami L Van Straten. Attorney(s) appearing: Michael T.
                          Graham (Graham, Michael)
 11/13/2019    9          NOTICE of Appearance by Caroline L Meneau on behalf of Kerry S Arent,
                          Stephen P Carter, Thomas J Ferree, Jeffrey J Fletcher, Carl J Laurino, Terry M
                          Murphy, Andrew F Reardon, Mark R Richards, David A Roberts, Kathi P
                          Seifert, Mark A Suwyn, Tami L Van Straten. Attorney(s) appearing: Caroline
                          L. Meneau (Meneau, Caroline)
 11/15/2019   10
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                    NOTICE of Appearance by Jacob D Rhode on behalf of Argent Trust
                    Company. Attorney(s) appearing: Jacob D. Rhode (Rhode, Jacob)
11/15/2019   11     NOTICE of Appearance by Michael L Scheier on behalf of Argent Trust
                    Company. Attorney(s) appearing: Michael L. Scheier (Scheier, Michael)
11/15/2019   12     NOTICE of Appearance by Brian P Muething on behalf of Argent Trust
                    Company. Attorney(s) appearing: Brian P. Muething (Muething, Brian)
11/15/2019   13     NOTICE of Appearance by Ross Townsend on behalf of Stout Risius Ross Inc,
                    Stout Risius Ross LLC. Attorney(s) appearing: Ross W. Townsend (Townsend,
                    Ross)
11/19/2019   14     JOINT DESIGNATION OF RECORD from USBC−District of Delaware
                    Adversary Proceeding 18−50955 and Bankruptcy Petition 17−12082 filed by all
                    Parties. (Attachments: # 1 Adversary Proceeding 18−50955, Dkt #1−65 (with
                    bookmarks), # 2 Adversary Proceeding 18−50955, Dkt #66−99 (with
                    bookmarks), # 3 Adversary Proceeding 18−50955, Dkt #100−114 (with
                    bookmarks), # 4 Bankrtuptcy Petition 17−12082, Dkt #1−1146 (with
                    bookmarks), # 5 SEALED Adversary Proceeding Documents, Dkt #3, 60, 87,
                    100, 104, 107 (with bookmarks)) (tlf)
11/22/2019   15     NOTICE of Appearance by Gordon Z Novod on behalf of Eugene I Davis, Alan
                    D Halperin. Attorney(s) appearing: Gordon Z. Novod (Novod, Gordon)
11/22/2019   16     STIPULATION for (1) Motion Related to Renewed Motions to Dismiss Revised
                    Second Amended Adversary Complaint and Proposed Briefing Schedule and
                    (II) Civil L.R. 7(h) Expedited Non−Dispositive Motion for Leave to Exceed
                    Page Limit [Unopposed] by Eugene I Davis, Alan D Halperin. (Attachments: #
                    1 Text of Proposed Order)(Novod, Gordon)
11/25/2019   17     ORDER Approving 16 Joint Stipulation signed by Judge William C Griesbach
                    on 11/25/19. Defendants may file renewed motions to dismiss Counts I−VIII of
                    Revised Second Amended Complaint ("Renewed Motions") applying this
                    Court's local rules. Briefing Schedule: Defendants to file the Renewed Motions
                    and supporting briefs and documents by 12/16/19; Plaintiff's to file its
                    opposition brief to the Renewed Motions and supporting documents by 1/17/20;
                    and Defendants to file reply briefs in support of motions by 2/7/20. (cc: all
                    counsel)(Griesbach, William)
12/16/2019   18     MOTION to Dismiss by Argent Trust Company. (Scheier, Michael)
12/16/2019   19     BRIEF in Support filed by Argent Trust Company re 18 MOTION to Dismiss .
                    (Attachments: # 1 Exhibit Appvion ESOP (eff. 1.1.14), # 2 Exhibit Trust
                    Agreement (eff. 4.1.13), # 3 Exhibit Trust Agreement (eff. 8.3.15), # 4 Exhibit
                    Reliance Engagement Ltr (eff. 4.1.13), # 5 Exhibit Argent Engagement Ltr (eff.
                    5.26.15), # 6 Exhibit Unreported Decisions)(Scheier, Michael)
12/16/2019   20     MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Stout
                    Risius Ross Inc, Stout Risius Ross LLC. (Attachments: # 1 Text of Proposed
                    Order)(Golumbic, Lars)
12/16/2019   21     BRIEF in Support filed by Stout Risius Ross Inc, Stout Risius Ross LLC re 20
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM .
                    (Attachments: # 1 Affidavit of Lars C. Golumbic, # 2 Exhibit 1 Stout
                    Engagement Letters, # 3 Exhibit 2 2012 PDC Form 10K, # 4 Exhibit 3
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                   20130630 Appvion Valuation Report, # 5 Exhibit 4 20140630 Appvion
                   Valuation Report, # 6 Exhibit 5 20141231 Appvion Valuation Report, # 7
                   Exhibit 6 20150630 Appvion Valuation Report, # 8 Exhibit 7 20151231
                   Appvion Valuation Report, # 9 Exhibit 8 20160630 Appvion Valuation Report,
                   # 10 Exhibit 9 20161231 Appvion Valuation Report, # 11 Exhibit 10 20170630
                   Appvion Valuation Report, # 12 Exhibit Unreported Cases)(Golumbic, Lars)
12/16/2019   22    DISCLOSURE Statement by Kerry S Arent, Stephen P Carter, Thomas J
                   Ferree, Jeffrey J Fletcher, Carl J Laurino, Terry M Murphy, Andrew F Reardon,
                   Mark R Richards, David A Roberts, Kathi P Seifert, Mark A Suwyn, Tami L
                   Van Straten. (Martin, Craig)
12/16/2019   23    MOTION to Dismiss − Former Directors' and Officers' Motion to Dismiss
                   Counts I−IV, VII and VIII of Plaintiffs' Revised Second Amended Complaint by
                   Kerry S Arent, Stephen P Carter, Thomas J Ferree, Jeffrey J Fletcher, Carl J
                   Laurino, Terry M Murphy, Andrew F Reardon, Mark R Richards, David A
                   Roberts, Kathi P Seifert, Mark A Suwyn, Tami L Van Straten. (Martin, Craig)
12/16/2019   24    BRIEF in Support filed by Kerry S Arent, Stephen P Carter, Thomas J Ferree,
                   Jeffrey J Fletcher, Carl J Laurino, Terry M Murphy, Andrew F Reardon, Mark
                   R Richards, David A Roberts, Kathi P Seifert, Mark A Suwyn, Tami L Van
                   Straten re 23 MOTION to Dismiss − Former Directors' and Officers' Motion to
                   Dismiss Counts I−IV, VII and VIII of Plaintiffs' Revised Second Amended
                   Complaint . (Attachments: # 1 Exhibit A − Plan Document, # 2 Exhibit B −
                   Trust Document, # 3 Exhibit C − Unreported Cases)(Martin, Craig)
12/17/2019   25    DISCLOSURE Statement by Stout Risius Ross Inc, Stout Risius Ross LLC.
                   (Golumbic, Lars)
12/18/2019   26    LETTER from Gordon Z. Novod re: designate additional documents to the
                   record of this case. (Attachments: # 1 Exhibit A−Rule 52/60 Motion filed in the
                   Bankrutpcy Court in the District of Delaware, # 2 Exhibit B−Certificate of No
                   Objection to Rule 52/60 Motion, # 3 Exhibit C−Order granting Rule 52/60
                   Motion)(Novod, Gordon)
12/20/2019   27    DISCLOSURE Statement by Argent Trust Company. (Scheier, Michael)
01/17/2020   28    BRIEF in Opposition filed by Eugene I Davis, Alan D Halperin re 20 MOTION
                   TO DISMISS FOR FAILURE TO STATE A CLAIM , 18 MOTION to Dismiss
                   , 23 MOTION to Dismiss − Former Directors' and Officers' Motion to Dismiss
                   Counts I−IV, VII and VIII of Plaintiffs' Revised Second Amended Complaint .
                   (Attachments: # 1 Exhibit Unpublished Cases, # 2 Text of Proposed
                   Order)(Novod, Gordon)
01/17/2020   29    DISCLOSURE Statement by Eugene I Davis, Alan D Halperin. (Novod,
                   Gordon)
02/07/2020   30    REPLY BRIEF in Support filed by Argent Trust Company re 18 MOTION to
                   Dismiss . (Scheier, Michael)
02/07/2020   31    REPLY filed by Kerry S Arent, Stephen P Carter, Thomas J Ferree, Jeffrey J
                   Fletcher, Carl J Laurino, Terry M Murphy, Andrew F Reardon, Mark R
                   Richards, David A Roberts, Kathi P Seifert, Mark A Suwyn, Tami L Van
                   Straten re 28 Brief in Opposition to Motion, / Former Appvion Inc. Directors'
                   and Officers' Reply to Plaintiffs' Response to Motion to Dismiss Counts I−IV,

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                   VII and VIII Of Plaintiffs' Revised Second Amended Complaint. (Attachments: #
                   1 Exhibit A − Trust Document, # 2 Exhibit B − Plan Document, # 3 Exhibit C −
                   Unreported Cases)(Martin, Craig)
02/07/2020   32    REPLY BRIEF in Support filed by Stout Risius Ross Inc, Stout Risius Ross
                   LLC re 20 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM .
                   (Attachments: # 1 Exhibit Unreported Cases)(Golumbic, Lars)
02/18/2020   33    LETTER from Gordon Z. Novod on behalf of Plaintiff Alan D. Halperin and
                   Eugene I. Davis as Co−Trustees of the Appvion Liquidating Trust. (Novod,
                   Gordon)
03/05/2020   34    TEXT ONLY ORDER DECLINING 33 Letter request for April oral argument,
                   signed by Judge William C Griesbach on 03/05/2020. The court may reconsider
                   the request after fully reviewing the briefs, but at this time the request is denied.
                   (cc: all counsel)(Griesbach, William)
04/08/2020   35    NOTICE of Appearance by Amanda S Amert on behalf of Kerry S Arent,
                   Stephen P Carter, Thomas J Ferree, Jeffrey J Fletcher, Carl J Laurino, Terry M
                   Murphy, Andrew F Reardon, Mark R Richards, David A Roberts, Kathi P
                   Seifert, Mark A Suwyn, Tami L Van Straten. Attorney(s) appearing: Amanda S.
                   Amert (Amert, Amanda)
04/08/2020   36    NOTICE of Change of Address by Craig C Martin to Willkie Farr & Gallagher
                   LLP, 300 N. LaSalle Street, Chicago, IL 60654 (Martin, Craig)
04/08/2020   37    NOTICE of Change of Address by Michael T Graham to Willkie Farr &
                   Gallagher LLP, 300 N.LaSalle St, Chicago, IL 60654 (Graham, Michael)
04/17/2020   38    NOTICE by Kerry S Arent, Stephen P Carter, Thomas J Ferree, Jeffrey J
                   Fletcher, Carl J Laurino, Terry M Murphy, Andrew F Reardon, Mark R
                   Richards, David A Roberts, Kathi P Seifert, Mark A Suwyn, Tami L Van
                   Straten of Attorney Withdrawal (Martin, Craig)
08/24/2020   39    NOTICE of Appearance by Andrew Salek−Raham on behalf of Stout Risius
                   Ross Inc, Stout Risius Ross LLC. Attorney(s) appearing: Andrew D.
                   Salek−Raham (Salek−Raham, Andrew)
08/28/2020   40    DECISION AND ORDER signed by Judge William C Griesbach on 8/28/2020
                   GRANTING Defendants' 18 , 20 and 23 Motions to Dismiss. Plaintiffs' state
                   law claims against the defendants are dismissed as preempted by ERISA. This
                   case is DISMISSED. The Clerk is directed to enter judgment accordingly. (cc:
                   all counsel) (Griesbach, William)
08/28/2020   41    JUDGMENT signed by Deputy Clerk and approved by Judge William C
                   Griesbach on 8/28/2020. (cc: all counsel)(mac)
09/16/2020   42    NOTICE OF APPEAL as to 40 Order on Motion to Dismiss,, Order on Motion
                   to Dismiss for Failure to State a Claim,,, 41 Judgment by Eugene I Davis, Alan
                   D Halperin. Filing Fee PAID $505, receipt number AWIEDC−3574142 (cc: all
                   counsel) (Novod, Gordon)
09/17/2020   43    Attorney Cover Letter re: 42 Notice of Appeal. (tlf)




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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


ALAN D. HALPERIN AND EUGENE I. DAVIS,
AS CO-TRUSTEES OF THE APPVION
LIQUIDATING TRUST,                                          Case No. 19-C-1561 (WCG)

                                       Plaintiffs,

                         v.

MARK R. RICHARDS, THOMAS J. FERREE,
TAMI L. VAN STRATEN, JEFFREY J.
FLETCHER, KERRY S. ARENT, STEPHEN P.
CARTER, TERRY M. MURPHY, ANDREW F.
REARDON, KATHI P. SEIFERT, MARK A.
SUWYN, CARL J. LAURINO, DAVID A.
ROBERTS, ARGENT TRUST COMPANY,
STOUT RISIUS ROSS, INC., STOUT RISIUS
ROSS, LLC, JOHN/JANE DOES 1-40,

                                        Defendants.


                                     NOTICE OF APPEAL

       Notice is hereby given that appellants Alan D. Halperin and Eugene I. Davis, as Co-

Trustees of the Appvion Liquidating Trust, hereby appeal to the United States Court of Appeals

for the Seventh Circuit from the Decision and Order (Dkt. No. 40) and Judgment (Dkt. No. 41)

entered in this action on August 28, 2020.

       In appealing from the Decision and Order and Judgment, appellants appeal from any and

all orders antecedent and ancillary thereto.




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        Case
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                                 Document
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                                                                        44
Dated: September 16, 2020

                                        GRANT & EISENHOFER P.A.
                                        /s/ Gordon Z. Novod
                                        Gordon Z. Novod
                                        485 Lexington Avenue, 29th Floor
                                        New York, New York 10017
                                        Tel: 646-722-8500
                                        Fax: 646-722-8501
                                        Email: gnovod@gelaw.com

                                        Special Counsel for Alan D. Halperin and
                                        Eugene I. Davis, as Co-Trustees of the Appvion
                                        Liquidating Trust




                                       2
       Case
        Case1:19-cv-01561-WCG
             1:19-cv-01561-WCG Filed
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Appeal was filed

electronically on September 16, 2020, with the Clerk of the Court using the CM/ECF system,

which will send a notice of electronic filing to all CM/ECF participants, resulting in service upon

all counsel of record.



                                                     /s/ Gordon Z. Novod
                                                       Gordon Z. Novod




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


ALAN D. HALPERIN and
EUGENE I. DAVIS,

                       Plaintiffs,

               v.                                             Case No. 19-C-1561

MARK R. RICHARDS, et al.,

                       Defendants.


    DECISION AND ORDER GRANTING DEFENDANTS’ MOTIONS TO DISMISS


       In late 2001, the employees of Appvion, Inc. contributed nearly $107 million from their

401(k) retirement accounts to an employee stock ownership plan (ESOP), which was used to

purchase all of the common stock of Paperweight Development Corporation (PDC). PDC then

used the employee contributions, along with other financing, to purchase Appvion from its parent

company, Arjo Wiggins Appleton. On October 1, 2017, some 16 years later, Appvion filed

voluntary petitions for relief under Chapter 11. Under the Chapter 11 Plan of Liquidation,

Plaintiffs were given authority to pursue certain causes of action on behalf of the estate. Plaintiffs

commenced an adversary proceeding in the U.S. Bankruptcy Court for the District of Delaware on

November 30, 2018, for the benefit of certain Appvion creditors, against a number of former

Directors and Officers of Appvion Inc.; Argent Trust Company, which served as the trustee of the

ESOP from 2014 to 2017; and Stout Risius Ross, Inc. and Stout Risius Ross, LLC (Stout), which

provided stock valuations from 2014 to 2017.

       The complaint alleged that the Director and Officer Defendants breached their fiduciary

duties (Counts I through III); that the ESOP Committee Members, Argent, and Stout aided and




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abetted the Director and Officer Defendants in breaching their fiduciary duties (Counts IV through

VI); and that certain Director and Officer Defendants received illegal dividends in violation of

Delaware state law (Counts VII and VIII). The complaint also asserted avoidance actions against

certain Director and Officer Defendants, Stout, and Argent (Counts IX through XVIII). Plaintiffs

filed a first amended complaint on February 19, 2019. On March 19, 2019, the Director and

Officer Defendants and Argent filed motions to dismiss. Plaintiffs filed a Second Amended

Complaint and then a Revised Second Amended Complaint. The parties stipulated that the

motions to dismiss had equal applicability to the Revised Second Amended Complaint. On

October 23, 2019, the U.S. Bankruptcy Court for the District of Delaware ordered that the venue

of Counts I through VIII be transferred to this court.

       This matter comes before the court on the defendants’ motions to dismiss. The defendants

assert that Plaintiffs’ state law claims are preempted by the Employee Retirement Income Security

Act of 1974 (ERISA), 29 U.S.C. § 1001, et seq. For the reasons that follow, the defendants’

motions to dismiss will be granted and the case will be dismissed.

                                      LEGAL STANDARD

       A motion to dismiss tests the sufficiency of the complaint to state a claim upon which relief

can be granted. Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir. 1990); see Fed. R. Civ.

P. 12(b)(6). When reviewing a motion to dismiss under Rule 12(b)(6), the court must accept all

well-pleaded factual allegations as true and draw all inferences in the light most favorable to the

non-moving party. Gutierrez v. Peters, 111 F.3d 1364, 1368–69 (7th Cir. 1997); Mosley v.

Klincar, 947 F.2d 1338, 1339 (7th Cir. 1991). Rule 8 mandates that a complaint need only include

“a short and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R.

Civ. P. 8(a)(2). The plaintiff’s short and plain statement must “give the defendant fair notice of



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what the claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007). While a plaintiff is not required to plead detailed factual allegations, it must plead

“more than labels and conclusions.” Id. A simple, “formulaic recitation of the elements of a cause

of action will not do.” Id. A claim is plausible on its face when “the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009).

                                         BACKGROUND

       Prior to 2001, Appvion, or as it was then known, Appleton Papers, Inc., offered its

employees a traditional Section 401(k) retirement plan. In late 2001, the employees of Appvion

contributed nearly $107 million of their retirement accounts to an ERISA-governed employee

stock ownership plan (ESOP) to be used to purchase all of the common stock of Paperweight

Development Corporation (PDC). PDC then purchased Appvion from its parent company, Arjo

Wiggins Appleton, and Appvion employees continued to use their tax-deferred retirement savings

to purchase additional stock throughout their employment. Upon an employee participant’s

retirement, the ESOP would repurchase the participant’s PDC common stock at fair market value.

On May 28, 2014, Argent became the ESOP’s trustee and was supervised by the ESOP Committee.

As the trustee, Argent was to determine the fair market value of PDC common stock, among other

duties. Argent hired Stout to make the fair market value determination.

       Plaintiffs allege that the ESOP frequently did not have sufficient cash from employee

contributions to cover the cost of ESOP distributions to employee participants, so the ESOP

borrowed money from PDC. Compl. ¶ 115, Dkt. No. 2. PDC, in turn, borrowed funds from

Appvion to meet the ESOP’s repurchase obligations, and Appvion borrowed money from its

lenders to fund its loans to PDC. Id. ¶ 116. Of course, Appvion also had other financial obligations



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and commitments. In October 2017, Appvion filed voluntary petitions for relief under Chapter 11.

Plaintiffs claim that this “litigation involves harmful and destructive manipulation of [Appvion’s]

corporate enterprise by certain . . . directors and officers, and the advisers they engaged to oversee

and administer the core functions of the Appvion, Inc. Savings and Employee Stock Ownership

Plan.” Id. ¶ 1. Plaintiffs assert that “hundreds of millions of dollars of creditor claims against

Appvion and Paperweight Development Corp. have gone unpaid.” Pl.’s Br. at 10, Dkt. No. 28.

                                            ANALYSIS

       The defendants assert that Plaintiffs’ claims are preempted by ERISA’s conflict preemption

provision, Section 514 of ERISA, 29 U.S.C. § 1144(a). The purpose of ERISA preemption is to

ensure uniformity of benefit law and protect the interests of plan beneficiaries. See Aetna Health

Inc. v. Davila, 542 U.S. 200, 208 (2004). “To this end, ERISA includes expansive pre-emption

provisions . . . which are intended to ensure that employee benefit plan regulation would be

exclusively a federal concern.” Id. (quotation marks and citations omitted). ERISA has two

distinct preemption provisions: complete preemption under ERISA § 502 and conflict preemption

under ERISA § 514. The parties agree that claims in this case raise questions concerning conflict

preemption.

       Section 514 states that ERISA “shall supersede any and all State laws insofar as they

may . . . relate to any employee benefit plan.” 29 U.S.C. § 1144(a). Although the Supreme Court

has rejected “uncritical literalism” in applying this section, Gobeille v. Liberty Mut. Ins. Co., 136

S. Ct. 936, 943 (2016), it has “long acknowledged that ERISA’s pre-emption provision is ‘clearly

expansive.’” Cal. Div. of Labor Standards Enforcement v. Dillingham Const., N.A., Inc., 519 U.S.

316, 324 (1997) (noting that the preemption provision has “a ‘broad scope,’ and an ‘expansive

sweep;’ and it is ‘broadly worded,’ ‘deliberately expansive,’ and ‘conspicuous for its breadth.’”



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(citations and alterations omitted)). The Court has found that a law “relates to” an ERISA plan “if

it has a connection with or reference to such a plan.” Shaw v. Delta Air Lines, Inc., 463 U.S. 85,

96–97 (1983). Applying these principles, the Court has described two categories of state laws that

ERISA preempts:

       First, ERISA pre-empts a state law if it has a “reference to” ERISA plans. To be
       more precise, where a State’s law acts immediately and exclusively upon ERISA
       plans or where the existence of ERISA plans is essential to the law’s operation, that
       “reference” will result in pre-emption. Second, ERISA pre-empts a state law that
       has an impermissible “connection with” ERISA plans, meaning a state law that
       governs a central matter of plan administration or interferes with nationally uniform
       plan administration. A state law also might have an impermissible connection with
       ERISA plans if acute, albeit indirect, economic effects of the state law force an
       ERISA plan to adopt a certain scheme of substantive coverage or effectively restrict
       its choice of insurers.

Gobeille, 136 S. Ct. at 943 (internal quotation marks, citations, and alterations omitted).

       As an initial matter, Plaintiffs assert that ERISA only preempts claims brought by plaintiffs

who have standing to sue under ERISA.           Only plan participants, plan beneficiaries, plan

fiduciaries, and the Secretary of Labor have standing to pursue ERISA claims. See 29 U.S.C.

§ 1132(a)(3). There is no dispute that Plaintiffs lack standing to sue under ERISA since they are

not plan participants, beneficiaries, or fiduciaries. Plaintiffs maintain that, if ERISA is found to

preempt their state law claims, they would not have an avenue to redress their injuries.

       The Seventh Circuit has held that “the availability of a federal remedy is not a prerequisite

for federal preemption.” Lister v. Stark, 890 F.2d 941, 946 (7th Cir. 1989); see also Rice v.

Panchal, 65 F.3d 637, 641 (7th Cir. 1995) (noting that ERISA “displaces state claims that it does

not necessarily replace with federal claims” (citation omitted)). Congress intended for ERISA to

provide the exclusive means of obtaining redress for matters relating to benefit plans, and ERISA’s

goal was to “ensure that plans and plan sponsors would be subject to a uniform body of benefits

law.” Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 142 (1990). The goal of uniformity and

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predictability would be undermined if plaintiffs are permitted to obtain remedies under state law

that Congress rejected in ERISA. In short, ERISA may preempt a plaintiff’s state law claim

regardless of whether ERISA provides an avenue for the plaintiff to obtain relief. Indeed, ERISA

preemption turns on whether a plaintiff asserts a claim that is grounded in duties arising out of

ERISA, not whether the plaintiff has statutory standing to assert a claim under ERISA. The court

therefore rejects Plaintiffs’ assertion that their claims are not preempted merely because they

cannot obtain relief under ERISA and now turns to whether Plaintiffs’ claims are preempted.

       The Director and Officer Defendants assert that ERISA preempts Plaintiffs’ claims against

them because those claims relate to and depend on the Appvion ESOP, which is an ERISA-

governed plan. See 29 U.S.C. § 1002(34). Plaintiffs assert that they are pleading their claims

based on the corporate fiduciary duties owed by directors and officers to their companies in

general, not on the Director and Officer Defendants’ ERISA-based fiduciary duties. Citing Barry

v. Trustees of the International Association Full-Time Salaried Officers and Employees of Outside

Local Unions and District Counsel’s (Iron Workers) Pension Plan, 404 F. Supp. 2d 145, 151

(D.D.C. 2005), Plaintiffs assert that, because ERISA acknowledges “that individuals may be both

ERISA plan fiduciaries and officers or other employees in a corporation,” their separate fiduciary

obligations imposed under ERISA are irrelevant to Plaintiffs’ claims of breaches of corporate

fiduciary duties. Pls.’ Br. at 28, Dkt. No. 28. Recognizing that not every business decision of an

individual who is both a plan administrator and an employer will implicate the individual’s ERISA

fiduciary obligations, ERISA imposes fiduciary obligations only when an individual “exercises

any discretionary authority or discretionary control respecting management of such plan or

exercises any authority or control respecting management or disposition of its assets.” 29 U.S.C.

§ 1002(21).



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       In this case, Plaintiffs’ allegations relate to the Director and Officer Defendants’

management or administration of the ESOP and the alleged breaches of their ERISA-governed

fiduciary duties and obligations. Plaintiffs allege that the Director and Officer Defendants

“artificially and materially inflated” the value of the PDC stock by intentionally providing

inaccurate information to the ESOP’s valuation firms, they knew that the stock was being over

valued but did nothing to stop it, and they improperly forgave intercompany debt and borrowed

money from Appvion to fund the ESOP’s repurchase obligations. Compl. ¶¶ 1, 3–8, 113–20, 393–

95, 400–01, 404, 409, 422–25, 431–33. ERISA imposes specific duties on ESOP fiduciaries

regarding stock valuations and requires that fiduciaries monitor and fund repurchase obligations

as set out in the plan’s governing documents. See Keach v. U.S. Tr. Co., 419 F.3d 626, 636–37

(7th Cir. 2005) (“A fiduciary must investigate the expert’s qualifications, provide the expert with

complete and accurate information, and make certain that reliance on the expert’s advice is

reasonably justified under the circumstances.”); see also Fish v. GreatBanc Tr. Co., No. 09-cv-

1668, 2016 WL 5923448, at *14 (N.D. Ill. Sept. 1, 2016). The Director and Officer Defendants’

duties are not independent of ERISA, as they are based on obligations under the ESOP, an ERISA-

governed plan, and would not exist absent the plan. Plaintiffs’ claims are grounded in the Director

and Officer Defendants’ ERISA-related duties, not their general corporate duties, and “relate to”

the ESOP.     Therefore, ERISA preempts Plaintiffs’ claims against the Director and Officer

Defendants.

       Argent and Stout assert that the aiding and abetting claims against them also “relate to” the

ESOP and are thus preempted by ERISA because Plaintiffs’ claims are based on their performance

of their plan-related duties. Plaintiffs claim that Argent and Stout aided and abetted the Director

and Officer Defendants’ breaches of fiduciary duties. Compl. ¶¶ 414, 418. Plaintiffs’ claims



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against Argent and Stout are premised on the existence of the ERISA plan and relate to the plan’s

administration. In their complaint, Plaintiffs challenge Argent’s conduct in discharging its duties

as the ESOP Trustee in determining the fair market value of PDC’s common stock. Id. ¶ 113.

Argent’s duties as the ESOP Trustee are governed by ERISA and are central to the plan’s

administration. Argent engaged Stout as an independent appraiser to prepare fair market value

determinations of the plan’s stock holdings, an ERISA plan–required function that was crucial to

the ESOP’s administration. See id. ¶¶ 10, 112. Plaintiffs’ claims of aiding and abetting, at their

cores, are premised on errors in administering an ERISA plan. Because Plaintiffs’ claims against

Argent and Stout are predicated on conduct governed by ERISA, those claims are preempted and

must be dismissed.

                                        CONCLUSION

       For these reasons, the defendants’ motions to dismiss are GRANTED. Plaintiffs’ state law

claims against the defendants are dismissed as preempted by ERISA. This case is dismissed. The

Clerk is directed to enter judgment accordingly.

       SO ORDERED at Green Bay, Wisconsin this 28th day of August, 2020.

                                                       s/ William C. Griesbach
                                                       William C. Griesbach
                                                       United States District Judge




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AO 450 (Rev. 5/85) Judgment in a Civil Case




                               United States District Court
                                              EASTERN DISTRICT OF WISCONSIN


ALAN D. HALPERIN
and EUGENE I. DAVIS,

                                    Plaintiffs,
                                                                   JUDGMENT IN A CIVIL CASE
                        v.                                            Case No. 19-C-1561

MARK R. RICHARDS, THOMAS J. FERREE,
TAMI L. VAN STRATEN, JEFFREY J. FLETCHER,
KERRY S. ARENT, STEPHEN P. CARTER,
TERRY M. MURPHY, ANDREW F. REARDON,
KATHI P. SEIFERT, MARK A. SUWYN,
CARL J. LAURINO, DAVID A. ROBERTS,
ARGENT TRUST COMPANY,
STOUT RISIUS ROSS, INC.
and STOUT RISIUS ROSS, LLC.,


                                    Defendants.


☐           Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
            and the jury has rendered its verdict

☒           Decision by Court. This action came before the Court for consideration.

      IT IS HEREBY ORDERED AND ADJUDGED that the plaintiffs take nothing and this case is
DISMISSED.


                                                      Approved: s/ William C. Griesbach
                                                                WILLIAM C. GRIESBACH
                                                                United States District Judge
            Dated: August 28, 2020

                                                                GINA M. COLLETTI
                                                                Clerk of Court

                                                                 s/ Mara A. Corpus
                                                                 (By) Deputy Clerk




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